           Case 2:13-cr-00448-KJD-CWH      Document 92     Filed 12/11/14    Page 1 of 2



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     Attorneys for Carlos Jimenez-Martinez
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                                  DISTRICT OF NEVADA
10
11
12   UNITED STATES OF AMERICA,       )
                                     )
13                                   )              Case No.2:13-cr-00448-KJD-CWH
           Plaintiff,                )
14                                   )
                      vs.            )
15                                   )
     Carlos Jimenez-Martinez,        )
16                                   )
           Defendant.                )
17   ________________________________)
18
19                                STIPULATION
                                      AND
20                ORDER TO CONTINUE DATE FOR SENTENCING HEARING
21           COMES NOW Defendant CARLOS JIMENEZ-MARTINEZ, by and through his
22   attorney, KAREN C. WINCKLER, ESQ., and the United States, by and through
23   Assistant United States Attorney AMBER CRAIG, and hereby stipulate and agree that
24   the sentencing hearing date set for December 16, 2014, be continued to a time
25   convenient for the court, but no sooner than in 5 weeks.
26   ///
27   ///
28   ///
         Case 2:13-cr-00448-KJD-CWH           Document 92       Filed 12/11/14    Page 2 of 2



 1          This stipulation is entered into to allow sufficient time for the attorneys for the
 2   defendant to properly gather facts and prepare for the hearing. Due to an error, the
 3   PSR has not yet been delivered by the Probation Office to defense counsel. Today,
 4   upon request, AUSA Craig forwarded the PSR to counsel. The Defendant requires that
 5   the PSR be translated.
 6          DATED:     December 8, 2014
 7          WRIGHT STANISH & WINCKLER                   UNITED STATES ATTORNEY
 8
 9          BY           /s/                            BY          /s/
                 KAREN C. WINCKLER, ESQ                   AMBER CRAIG, ESQ.
10               Nevada Bar No. 2809                      Assistant U.S. Attorney
                 300 South Fourth Street                  333 Las Vegas Blvd. South
11               Ste. 701                                 5th Floor
                 Las Vegas, Nevada                        Las Vegas, NV 89101
12               Attorneys for Defendant
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14
                            *************************************************
15
16                                             ORDER
17          Good cause appearing, IT IS SO ORDERED that the sentencing hearing in
18   this matter is continued to January 20, 2015 , at the hour of 9:00 a.m. in courtroom # 4A .
19
            December 10,         2014
20
21
                                                KENT J. DAWSON
22                                              United States District Court Judge
23
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27
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